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A098 (Rev. 12/11-EDCA (Fresno 11/13]) Appearance and Compliance Bond



Release ofthe Bond The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                              Declarations

Ownership ofthe Property/Net Worth. I, the defendant-and each surety-declare under penalty of perjury that:
         (I)      all owners of the property securing this appearance bond are included on the bond;
         (2)      the property is not subject to claims, except as described above; and
         (3)      I will not reduce my net worth, sell an y property, allow fmther claims to be made against any property,
                  or do anything to reduce the value while this Appearance and Compliance Bond is in effect.
Acceptance. I, the defendant- and each surety - have read this appearance bond and have either read all the condition'>
of release set by the court or had them explained to me. I agree to this Appearance and Compliance Bond.

I, the defendant-and each surety-declare under penalty of perjury thatthis information is true. (See 28 U.S.C.§ 1746.)


Date:       04/10/20                                                                       ls/Mark Rodney Noble
                                                                                         Dr!fendant's signature


                  Mark Rodney Noble                                                 ls/Mark Rodney Noble
                Surety/property owner - printed name                           Surety/property owner - signature and date


                       Azadeh Akbari                                                          IslAzadch Akbari
                Surety/property owner - printed name                           Surety/property owner - signature and dale



                Surety/property owner - printed name                           Surety/property owner - sif?nature and date




      t/ I I O l 1.D 2..0
Date: -------
                                                                             Jami Thorp, Signature CJl Clerk or Deputy Clerk

Approved.

Date:
        --April 10, 2020-----
                                                                             District Judge Dale A. Drozd, Judge's signature
